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 6   Attorneys for Defendant
     ASHLEY STARLING THOMAS
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:14-cr-228 LJO-SKO
                                                  )
12                    Plaintiff,                  )   UNOPPOSED REQUEST FOR DEFENDANT
                                                  )   TO APPEAR BY VIDEO CONFERENCE
13    vs.                                         )   FROM THE NORTHERN DISTRICT OF
                                                  )   TEXAS, FORT WORTH DIVISION
14    ASHLEY STARLING THOMAS,                     )
                                                  )
15                    Defendant.                  )   Date: June 4, 2018
                                                  )   Time: 8:30 a.m.
16                                                )   Judge: Hon. Lawrence J. O'Neill

17
18          Defendant Ashley Starling Thomas, by and through her attorney of record, Assistant

19   Federal Defender Jerome Price, hereby moves this Court for an order permitting her to waive her

20   personal appearance at the status conference regarding remand from the Ninth Circuit scheduled

21   for Monday, June 4, 2018, and instead appear by video teleconference from the United States

22   Courthouse in Fort Worth, Texas. This motion is made pursuant to Federal Rule of Criminal
     Procedure 43(b)(3). The government does not oppose this request.
23
            On April 4, 2018, the Ninth Circuit filed a judgment reversing Mrs. Thomas’s structuring
24
     convictions and remanding her remaining convictions for a new trial. (ECF Nos. 419, 429.)
25
     This Court entered an order immediately releasing Mrs. Thomas from BOP custody on April 6,
26
     2018. (ECF No. 423). Shortly after, the Court scheduled a status conference for June 4, 2018.
27
     (ECF No. 427.) Mrs. Thomas currently resides in the Northern District of Texas and is on
28

      Request to Appear by Video Teleconference        -1-
     Case 1:14-cr-00228-LJO-SKO Document 432 Filed 05/24/18 Page 2 of 3


 1   pretrial supervision from the same district on a courtesy basis. She is currently working near

 2   Fort Worth, Texas. Mrs. Thomas would like to attend the proceeding, but requests to do so by

 3   video teleconference to save the expense of airfare and lodging for the status conference. At

 4   present, she does not have the funds to fly to California. As provided in Rule 43(b)(3), a

 5   defendant need not be present when a hearing is a conference or hearing on a legal question. The

 6   status conference is expected to deal with the next steps in this case on remand.
            Mrs. Thomas respectfully requests that the Court permit her to appear before this
 7
     Court on June 4, 2018 at 8:30 a.m. PDT by video conference whereby she will appear in the
 8
     United States Courthouse in Fort Worth, Texas at a space to be designated by the Clerk’s Office
 9
     in the Northern District of Texas. Pursuant to Fed. R. Crim. P. 43(b)(3), Mrs. Thomas consents
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     to be present by video teleconferencing. At all times, she will be represented by the undersigned,
11
     who will appear before this Court at the status conference.
12
13
14
                                                  Respectfully submitted,
15
                                                  HEATHER E. WILLIAMS
16                                                Federal Defender

17   Date: May 23, 2018                           /s/ Jerome Price
                                                  JEROME PRICE
18                                                Assistant Federal Defender
                                                  Attorneys for Defendant
19                                                ASHLEY STARLING THOMAS

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      Request to Appear by Video Teleconference      -2-
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                               IN THE UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
      UNITED STATES OF AMERICA,                   ) Case No. 1:14-cr-228 LJO-SKO
12                                                )
                      Plaintiff,                  ) ORDER
13                                                )
      vs.                                         )
14                                                )
      ASHLEY STARLING THOMAS,                     )
15                                                )
                      Defendant.                  )
16                                                )
                                                  )
17
18          The Court, having reviewed Defendant Ashley Starling Thomas’s unopposed request to
19   appear by video teleconference and upon finding good cause, hereby GRANTS the defendant’s
20   request to appear at the status conference scheduled for Monday, June 4, 2018 at 8:30 a.m. PDT
21   by video teleconference from the United States Courthouse in Fort Worth, Texas. The defendant
22   shall report to the United States Courthouse in Fort Worth, Texas on the above date at 10:00 a.m.
23   CDT, at a room to be designated by the Clerk’s Office in the Northern District of Texas.
24   IT IS SO ORDERED.

25      Dated:      May 23, 2018                           /s/ Lawrence J. O’Neill _____
26                                                 UNITED STATES CHIEF DISTRICT JUDGE

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28

      [Proposed] Order on Defendant’s                -1-
      Request to Appear by Video Teleconference
